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     15
                              UNITED STATES DISTRICT COURT
     16
                           SOUTHERN DISTRICT OF CALIFORNIA
     17
        TARLA MAKAEFF, et al., on Behalf of ) No. 3:10-cv-0940-GPC(WVG)
     18 Themselves and All Others Similarly )
        Situated,                                ) CLASS ACTION
     19                                          )
                                   Plaintiffs,   ) DECLARATION OF JASON A.
     20                                          ) FORGE
               vs.                               )
     21                                          ) JUDGE:   Hon. Gonzalo P. Curiel
        TRUMP UNIVERSITY, LLC, et al.,           ) DATE:    August 16, 2013
     22                                          ) TIME:    1:30 p.m.
                                   Defendants. ) CTRM:      2D (Schwartz)
     23                                          )
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            1         I, JASON A. FORGE, declare as follows:
            2         1.     I am an attorney duly licensed to practice before all of the courts of the
            3 State of California. I am a member with the law firm of Robbins Geller Rudman &
            4 Dowd LLP, one of counsel of record for Plaintiffs and the proposed Class. I have
            5 personal knowledge of the matters stated herein and, if called upon, I could and would
            6 competently testify thereto.
            7         2.     On June 25, 2013, my colleague Rachel Jensen emailed defense counsel
            8 David Schneider objecting to Defendants’ designation of the speaker script attached
            9 hereto as Exhibit 2 as “Confidential” under the Protective Order (Dkt. No. 91) in this
       10 case. Ms. Jensen requested that Defendants re-produce the script document without
       11 the confidentiality designation. On June 26, 2013, Mr. Schneider advised by email
       12 that Defendants decline to remove the confidentiality designation for the script
       13 document. As such, under the terms of the Protective Order, Plaintiffs must file
       14 Exhibit 2 under seal.
       15             3.     Attached hereto are true and correct copies of the following Exhibits:
       16             Exhibit                Document Description                    Page Nos.
       17           Exhibit 1       Excerpt from the hearing transcript of the      1-7
       18                           February 22, 2013 Discovery Hearing
                                    before the Honorable William V. Gallo;
       19           Exhibit 2       TU 154665-702 [sealed]; and                     8-46
       20
                    Exhibit 3       Excerpt from the deposition transcript of       47-49
       21                           PL, taken June 17, 2013.

       22
                      I declare under penalty of perjury under the laws of the United States of
       23
                America that the foregoing is true and correct. Executed this 26th day of June, 2013,
       24
                at San Diego, California.
       25
       26
                                                                      s/ Jason A. Forge
       27                                                            JASON A. FORGE
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            1                            CERTIFICATE OF SERVICE
            2        I hereby certify that on June 26, 2013, I authorized the electronic filing of the
            3 foregoing with the Clerk of the Court using the CM/ECF system which will send
            4 notification of such filing to the e-mail addresses denoted on the attached Electronic
            5 Mail Notice List, and I hereby certify that I caused to be mailed the foregoing
            6 document or paper via the United States Postal Service to the non-CM/ECF
            7 participants indicated on the attached Manual Notice List.
            8        I certify under penalty of perjury under the laws of the United States of America
            9 that the foregoing is true and correct. Executed on June 26, 2013.
       10
                                                           s/ Jason A. Forge
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Manual Notice List

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therefore require manual noticing). You may wish to use your mouse to select and copy this list into
your word processing program in order to create notices or labels for these recipients.

z   (No manual recipients)




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